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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 MITCHELL BEALL et al.,

               Plaintiffs,

 v.                                               Civil Action No. 1:22-CV-95
                                                  Judge Kleeh

 THE CITY OF MORGANTOWN,

               Defendant.


       MEMORANDUM OPINION AND ORDER GRANTING PLAINTIFFS’ MOTION TO
                           REMAND [ECF NO. 12]

         Pending before the Court is Plaintiffs’ Motion to Remand [ECF

 No. 12].      For the reasons discussed herein, that motion is GRANTED

 and    this   matter    is   hereby      remanded       to     the   Circuit    Court    of

 Monongalia County, West Virginia, for any further proceedings.

                              I.        PROCEDURAL HISTORY

         Plaintiffs filed their Complaint in the Circuit Court of

 Monongalia County, West Virginia, on September 7, 2022.                             ECF No.

 1 at ¶ 1.      In their Complaint, Plaintiffs, members of the City of

 Morgantown      Fire    Department,       allege      several        causes    of    action

 including      violations         of    the      West        Virginia    Constitution,

 retaliation, violations of the West Virginia Wage Payment and

 Collection Act (“WPCA”), W. Va. Code § 21-5-3, violations of the

 West Virginia Whistle-Blower Law, W. Va. Code § 6C-1-1, and

 violations of public policy.             ECF No. 1-1.           On September 9, 2022,
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 Defendant removed the matter to this Court claiming jurisdiction

 existed under 28 U.S.C. § 1331.               Id. at ¶7.

       Before   responding       to    the    Complaint,        Defendant     filed   its

 Motion for Preliminary Injunction. ECF No. 3. The Court scheduled

 oral argument on that motion for September 27, 2022.                        Plaintiffs

 filed their response before that hearing.                    ECF No. 7.     During that

 oral argument, the Court ordered Defendant to respond to the

 Complaint asserting all counterclaims and invited the parties to

 submit any supplemental briefing after that responsive pleading on

 an abbreviated schedule given an October 17, 2022, civil service

 commission hearing made subject of the instant motion.                        ECF Nos.

 9, 10 and 11.

       Also,    during     that        same        hearing,     Plaintiffs’     counsel

 repeatedly     advised    the    Court        a    motion     to   remand    would    be

 forthcoming    and   urged      the    Court       to   consider    the    forthcoming

 jurisdictional challenge before considering any injunctive relief.

 Plaintiffs filed their Motion to Remand on October 13, 2022.                         ECF

 No. 12. That motion has been fully briefed.                     ECF Nos. 15 and 17.

 On October 20, 2022, Plaintiffs filed their Motion to Dismiss.

 ECF No. 13.    That motion has also been fully briefed.                     ECF Nos. 16

 and 19.




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                               II.   FACTUAL BACKGROUND

        Plaintiff Mitchell Beall is a Lieutenant with the Morgantown

 Fire   Department       and   serves    as   President    of   IAFF     Local   313

 (Morgantown).     He works as a professional fire fighter for the

 Defendant City of Morgantown.           His fellow plaintiffs also work for

 Defendant as professional fire fighters at varying ranks.                       They

 are:

             1.    Bailey,   Brandon            (Apprentice       II),
                   Individually,
             2.    Borzik,     John            (Apprentice         I),
                   Individually,
             3.    Bragg, Joseph R. (Firefighter                 First
                   Class), Individually,
             4.    Campbell,   Charles          D.    (Lieutenant),
                   Individually,
             5.    Chisler,   Matthew  (Firefighter              First
                   Class), Individually,
             6.     Close,    Michael           (Apprentice        I),
                   Individually,
             7.    Connery,   Klint    (Firefighter              First
                   Class), Individually,
             8.    Dalton,   Tanner    (Firefighter              First
                   Class), Individually,
             9.    Dalton,   Thadius   (Firefighter              First
                   Class), Individually,
             10.   Daniels Douglas A. Jr., (Firefighter
                   First Class), Individually,
             11.   Davis, Bryan (Firefighter First Class),
                   Individually,
             12.   DeBerry, Christopher (Firefighter First
                   Class), Individually,


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            13.   Fobare, Philip (Firefighter Apprentice
                  II), Individually,
            14.   Freshour, Gary (Captain), Individually,
            15.   Ganoe, Jason (Lieutenant), Individually,
            16.   Giles, Aaron (Firefighter First Class),
                  Individually,
            17.   Hagedorn,   Larry   (Firefighter             First
                  Class), Individually,
            18.   Horbachewski,        Dan    (Apprentice       II),
                  Individually,
            19.   Izzo, Brian (Lieutenant), Individually,
            20.   Jenkins,      Ashley               (Lieutenant),
                  Individually,
            21.   Laskody, Chad (Firefighter First Class),
                  Individually,
            22.   Lemley, John D. (Captain), Individually,
            23.   Lyons,   William    (Firefighter             First
                  Class), Individually,
            24.   Martin,    Anthony            (Apprentice      I),
                  Individually,
            25.   McClain,   Bailey   (Firefighter             First
                  Class), Individually,
            26.   Mergenthaler, Brent (Firefighter First
                  Class), Individually,
            27.   Moore, John (Lieutenant), Individually,
            28.   Morgan,   Joshua    (Firefighter             First
                  Class), Individually,
            29.   Morris, Nicholas L. (Firefighter First
                  Class), Individually,
            30.   Nicewarner,          Jayson        (Lieutenant),
                  Individually,
            31.   Nickelson,           Eric          (Lieutenant),
                  Individually,




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            32.   Olszewski,   Roman  (Firefighter            First
                  Class), Individually,
            33.   Pantalo,    Marco         (Apprentice         I),
                  Individually,
            34.   Peery, Matt (Firefighter First Class),
                  Individually,
            35.   Porter, Derek (Firefighter First Class),
                  Individually,
            36.   Sharpe,       Douglas            (Lieutenant),
                  Individually,
            37.   Stake,   Anthony    (Firefighter            First
                  Class), Individually,
            38.   Thalman, Mark (Captain), Individually,
            39.   Thomas,    Travis         (Apprentice        II),
                  Individually,
            40.   Turner, Lucas (Firefighter First Class),
                  Individually
            41.   Ware, Colby (Firefighter First Class),
                  Individually,
            42.   Watson, Keith (Firefighter First Class),
                  Individually,
            43.   Waxman, Andrew (Firefighter Apprentice
                  II), Individually,
            44.   Whiten, Sean R. (Firefighter                First
                  Class), Individually,
            45.   Wolfe, Robert (Firefighter First Class),
                  Individually,
            46.   Wright,   Nicholas  (Firefighter            First
                  Class), Individually, and
            47.   Zaroda, Devon J. (Firefighter               First
                  Class), Individually.
 In their Complaint, Plaintiffs allege they work as municipal

 employees of Defendant.       They further allege both Defendant and

 they collectively are covered under the WPCA.


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       Plaintiffs and Defendant have been embroiled in litigation in

 various forums and before various tribunals for years now.                        In

 2019, the Morgantown Professional Firefighters asserted claims,

 inter alia, under the WPCA with respect to holiday pay issues.                    In

 April 2021, they filed a Demand for a public hearing with the Civil

 Service Commission alleging unlawful reduction in pay.                  Plaintiffs

 take issue with Defendant’s employee handbook revisions of July 1,

 2022, alleging retaliation in altering wage and benefits.

       On September 7, 2022, Plaintiffs filed this matter.                     On the

 same day, they filed a Demand with the Firefighter Civil Service

 Commission of the City of Morgantown for a public hearing on the

 allegedly unlawful “new pay and compensation scheme” enacted by

 Defendant.      ECF No. 12 at 9.       Here, Plaintiffs allege Defendant

 violated West Virginia Constitution Article III, Section 16 in

 allegedly reducing firefighter pay in retaliation for seeking

 redress   of    grievances   in   court.     ECF     No.   1-1     at    ¶¶   74-80.

 Plaintiffs further claim Defendant violated West Virginia Code

 § 55-7E-2      by   retaliating   against    them.         Id.    at    ¶¶    81-84.

 Plaintiffs     further   allege    Defendant    violated         the    WPCA,   West

 Virginia Code § 21-5-1 et seq., by changing paid time off and other

 benefits.      Id. at ¶¶ 85-96.    Plaintiffs also allege violations of

 the West Virginia Whistleblower Law, West Virginia Code § 6C-1-1

 et seq.   Id. at ¶¶ 97-108.       Plaintiffs allege violations of public


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 policy    and   the    West    Virginia       Constitution’s       Takings   Clause,

 Article 3, Section 9.           Id. at ¶¶ 124.            They seek an array of

 damages for these claims.         Nowhere does Plaintiffs’ Complaint cite

 or even mention any federal law – constitutional, statutory, or

 otherwise.

                                   III. DISCUSSION

       A. Removal Jurisdiction

       Defendants in civil actions may remove a matter from state to

 federal court if the latter forum has original subject matter

 jurisdiction.         This    requirement      can   be    based    upon   diversity

 jurisdiction or federal question jurisdiction.                      See 28 U.S.C.

 § 1441.    A federal district court has diversity jurisdiction over

 cases between citizens of different states where the amount in

 controversy exceeds $75,000.00, exclusive of interest and costs.

 See 28 U.S.C. § 1332.1           Further, a federal district court has

 federal question jurisdiction over all civil actions arising under

 the Constitution, laws, or treaties of the United States.                     See 28

 U.S.C. § 1331.        This jurisdiction must inhere in the plaintiff’s

 claim, rather than be based on a defense or counterclaim.                        See

 Louisville & Nashville R.R. v. Mottley, 211 U.S. 149 (1908).


 1Defendant does not suggest diversity jurisdiction under 28 U.S.C.
 § 1332 exists here; therefore, the Court will not address that
 potential jurisdictional basis.        Defendant must therefore
 demonstrate federal question jurisdiction is present.


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       The burden of demonstrating jurisdiction generally resides

 with the defendant.      See Wilson v. Republic Iron & Steel Co., 257

 U.S. 92 (1921).     Likewise, the plaintiff’s role in the context of

 disputes about removability is also clearly defined: the plaintiff

 is the master of his or her claim.             See Oklahoma Tax Comm’n v.

 Graham, 489 U.S. 838 (1989).          This means that “if [the plaintiff]

 chooses not to assert a federal claim . . . or properly joins a

 nondiverse party, defendants cannot remove the action to federal

 court on the ground that an alternative course of conduct available

 to the plaintiff would have permitted removal of the case.”                  14B

 Charles Wright, Federal Practice and Procedure, § 3721, p. 59

 (2009).   Moreover, as the Fourth Circuit has indicated, if federal

 jurisdiction is doubtful, the case must be remanded.              See Mulcahey

 v. Columbia Organic Chems. Co., 29 F.3d 148, 151 (4th Cir. 1994).

       Federal question jurisdiction exists if “a federal question

 is presented on the face of the plaintiff’s properly pleaded

 complaint.”     Caterpillar, Inc. v. Williams, 482 U.S. 386, 392

 (1987); see also W. Va. State Univ. Bd. of Governors v. Dow Chem.

 Co., 23 F.4th 288, 297 (4th Cir. 2022) (referencing “the well-

 pleaded complaint rule, which, absent diversity, prohibits removal

 unless a federal question appears on the face of the complaint”).

 As such, a defendant may not rely on a federal defense to a state

 law claim as a basis for removal.           See Topeka Housing Authority v.


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 Johnson, 404 F.3d 1245, 1247 (10th Cir. 2005).                     Thus, the well-

 pleaded complaint rule makes the plaintiff “the master of the

 claim; he or she may avoid federal jurisdiction by exclusive

 reliance on state law.”        Caterpillar, Inc., 482 U.S. at 392.

        Even a cursory reading of Plaintiffs’ complaint reveals the

 complete absence of any semblance of a federal claim on that

 pleading’s face.        In the Complaint, Plaintiffs assert a multitude

 of causes of action against their employer under West Virginia

 law:    violation   of     Article      3,   §   16    of    the    West     Virginia

 Constitution; violation of the WPCA, W. Va. Code § 21-5-1 et seq.;

 violation of the state’s Whistleblower Law, W. Va. Code § 6C-1-1,

 et seq.; violation of Article 9 of the West Virginia Constitution;

 and common law claims for retaliation and violation of public

 policy as defined under West Virginia law.                  See generally Compl.

        B. Embedded Federal Question

        As   Plaintiffs    accurately     state    in   their       pending    motion,

 Defendant fails to cite any provision of the Complaint to support

 its claim a federal question exists here.                     Instead, Defendant

 argues it “must rely on” the Fair Labor Standards Act (“FLSA”), 29

 U.S.C. § 203, to defend the matter.              ECF No. 15 at p.3.          The City

 goes on to argue its “defense to these claims necessarily involves

 a detailed discussion of its pay policies and demonstration of how

 those comport with the FLSA, which applies to how Plaintiffs’


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 hourly    wage   and    overtime   rate   is   determined.”        Id.   at   p.7.

 Presumably recognizing such defenses cannot establish the basis

 for    proper    removal,2   Defendant      urges   this   Court   to    find   an

 “embedded federal question” in Plaintiffs’ state law claims and

 assert jurisdiction in this matter.

         “[W]hen a claim finds its origins in state rather than federal

 law, federal courts have identified a ‘special and small category’

 of cases in which arising under [federal question] jurisdiction

 still lies.”      W. Va. State Univ. Bd. of Governors, 23 F.4th at 307

 (citing Empire Healthchoice Assurance, Inc. v. McVeigh, 547 U.S.

 677, 699 (2006)).         Exceptions to the well-established “arising

 under” standard of federal law are “extremely rare.”                     Gunn v.

 Minton, 568 U.S. 251, 257 (2013).               Defendant claims one such

 exception – under Grable & Sons Metal Products, Inc. v. Darue

 Engineering & Mfg., 545 U.S. 308 (2005) — applies here.                  ECF No.

 1 at ¶¶ 8-9.



 2“[I]t is now settled law that a case may not be removed to federal
 court on the basis of a federal defense, including the defense of
 pre-emption, even if the defense is anticipated in the plaintiff’s
 complaint, and even if both parties concede that the federal
 defense is the only question truly at issue.” Caterpillar, 482
 U.S. at 393 (citing Franchise Tax Board of Cal. v. Construction
 Laborers Vacation Trust for Southern Cal., 463 U.S. 1, 12 (1983));
 see also Burrell v. Bayer Corporation, 918 F.3d 372, 381-82 (4th
 Cir. 2019).




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        Under that limited exception, courts must assess whether the

 “state-law     claim    necessarily   raises      a    stated       federal      issue,

 actually disputed and substantial, which a federal forum may

 entertain without disturbing any congressionally approved balance

 of federal and state judicial responsibilities.”                   Grable, 545 U.S.

 at 314.    “[F]ederal jurisdiction over a state law claim will lie

 if a federal issue is: (1) necessarily raised, (2) actually

 disputed, (3) substantial, and (4) capable of resolution in federal

 court without disrupting the federal-state balance approved by

 Congress.”      Gunn,    568   U.S.   at   258.        If    all    four    of    these

 requirements are met, then jurisdiction is proper because there is

 a “‘serious federal interest in claiming the advantages thought to

 be inherent in a federal forum,’ which can be vindicated without

 disrupting Congress’s intended division of labor between state and

 federal courts.”        Id. (quoting Grable, 545 U.S. at 313–314).

 However, “[t]he mere presence of a federal issue in a state cause

 of    action    does    not    automatically          confer       federal-question

 jurisdiction.”      Merrell Dow Pharms., Inc. v. Thompson, 478 U.S.

 804, 813 (1986).         Likewise, “the mere assertion of a federal

 interest [is] not enough to confer federal jurisdiction.”                        Empire

 Healthchoice, 547 U.S. at 701.




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       The Fourth Circuit has also provided guidance on this limited

 exception to the well-pleaded complaint rule.                        Even if state law

 creates the claims asserted by the plaintiff, federal question

 jurisdiction       nonetheless     is       proper    in      cases    in    which     “the

 plaintiff’s right to relief necessarily depends on resolution of

 a substantial question of federal law, in that federal law is a

 necessary    element       of    one    of    the    well-pleaded . . . claims.”

 Pinney v. Nokia, Inc., 402 F.3d 430, 442 (4th Cir. 2005).                               To

 remove a case in which state law creates the plaintiff’s cause of

 action, a defendant “must establish two elements: (1) that the

 plaintiff's right to relief necessarily depends on a question of

 federal    law,    and     (2)   that       the   question      of    federal    law     is

 substantial.”      Dixon v. Coburg Daily, Inc., 369 F.3d 811, 816 (4th

 Cir. 2004).

             1. Necessarily Raised

       Turning to the Grable factors, the first prong of the analysis

 requires    the    court    to   consider         whether     the     “state-law      claim

 necessarily raise[s] a stated federal issue.”                         545 U.S. at 314

 (emphasis    added).        This       is   satisfied      when      “it    appears   that

 some . . . disputed question of federal law is a necessary element

 of one of the well-pleaded state claims.”                     Franchise Tax Bd., 463

 U.S. at 13.       Here, this factor weighs against finding an embedded

 federal question sufficient to confer federal jurisdiction in the


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 absence of a federal claim on the Complaint’s face.                Specifically,

 resolution of questions arising under the FLSA may – but do not

 necessarily – impact aspects of Plaintiffs’ claims.                    Defendant

 cites the “common” allegation in each of Plaintiffs’ claims that

 their pay has been reduced.        ECF No. 1 at ¶ 11.         The mere mention

 of changes or reductions in pay or other compensation, however,

 does not make FLSA issues “necessarily raised.”

       Defendant’s       best   chance   at   satisfying      the    “necessarily

 raised” factor lies in Plaintiffs’ WPCA claim.                     In Count 3,

 Plaintiffs allege Defendant violated the WPCA in not timely or

 properly paying wages and benefits, including paid time off and

 holiday pay.    ECF No. 1-1.      West Virginia Code § 21-5-1(c) defines

 wages to include fringe benefits that are capable of calculation

 and payable directly to the employee.               The terms of employment

 determine if such benefits qualify as wages under the WPCA.                   See

 Syl. Pt. 5, Meadows v. Wal-Mart, Inc., 530 S.E.2d 676, 679 (W. Va.

 1999).    “The determination as to whether “wages,” as defined in

 West Virginia Code § 21–5–1(c), are payable pursuant to the

 requirements of West Virginia Code § 21–5–1 et seq. is governed by

 the terms of the employment agreement, whether written or in the

 form of a consistently applied unwritten policy.”                   Syl. Pt. 5,

 Adkins v. Am. Mine Rsch., Inc., 765 S.E.2d 217, 218 (W. Va. 2014).




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         The terms and conditions of employment can arise from a

 variety of sources.           Over time, the Supreme Court of Appeals of

 West Virginia has turned to employee handbooks, policy manuals and

 unwritten but consistently applied payroll practices to determine

 the terms and conditions of employment for WPCA purposes.                          See,

 e.g., Gress v. Petersburg Foods, LLC, 592 S.E.2d 811, 815 (W. Va.

 2003) (citing employment policies) and Ingram v. City of Princeton,

 540    S.E.2d   569     (W.   Va.   2000)      (citing       consistently    applied,

 unwritten payroll practices).               Nothing in either West Virginia

 Code     §   21-5C-1(c)       or    cases      interpreting         that   definition

 necessarily     requires       consideration         of      FLSA    definitions     or

 requirements.     While it is possible FLSA issues could inform or

 even decide the determination of wages, as defined under the WPCA,

 it is not a      necessary         component of any statutory definition

 implicated in Plaintiffs’ Complaint.

         The parties spend significant time discussing the impact of

 Harper v. Massey Coal Services, Inc., No. 2:10-0894, 2011 WL 322558

 (S.D.W. Va. Feb. 2, 2011), on this matter.                          In Harper, Judge

 Copenhaver addressed whether an employee’s claims under the West

 Virginia Minimum Wage and Maximum Hour Standards, W. Va. Code § 21-

 5C-1 et seq., presented an embedded federal question such that

 removal, despite the absence of a federal claim on the complaint’s

 face, was proper.        He reasoned that because the plaintiffs’ claim


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 depended upon their ability to satisfy the statutory definition of

 “employer,” which expressly relies upon federal wage and hour law,

 the Grable-Pinney factors were satisfied such that the Southern

 District      of   West   Virginia      had      “arising    under”   jurisdiction.3

 Specifically,       Judge      Copenhaver     noted    the    plaintiffs    bore   the

 burden to prove they brought their claim against a “covered

 employer” triggering the statute’s application and, should the

 plaintiffs fail there, no claim under the Minimum Wage and Maximum

 Hour Standards would lie.             He found that definition so dependent

 upon federal law that its determination was necessary, disputed,

 and substantial and that exercising jurisdiction would not disturb

 the balance between federal-state judicial responsibilities.4

         Contrary to Defendant’s position, this case presents quite a

 different      scenario     from      Harper.        The     statutory    definitions

 applicable to Plaintiffs’ WPCA claims, unlike the definitions at

 issue    in   Harper,     do    not   reference       or    rely   upon   any   federal



 3  In Harper, the relevant statutory definition specifically
 excluded any “employer . . . if 80 percent of the persons employed
 by him are subject to any federal act relating to minimum wage,
 maximum hours and overtime compensation.” West Virginia Code § 21-
 5C-1(e). The WPCA contains no similar reference to federal law in
 either its definitions or otherwise.
 4  Plaintiffs dedicate significant effort to assailing Judge
 Copenhaver’s reasoning and conclusion including citation to other
 district court decisions reaching a contrary result.       As the
 specific question presented in Harper is not present here, this
 Court need not address that issue.


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 statutory scheme.       As noted, questions of federal wage and hour

 law may not even be relevant to Plaintiffs’ WPCA claims.               This is

 not to say the FLSA will have no bearing upon whether Plaintiffs

 state viable WPCA claims.      Instead, the Court cannot conclude that

 adjudication of any federal question including the FLSA is so

 necessary to Plaintiffs’ claims that exercise of this “rare” form

 of jurisdiction would be proper.           See Empire Healthcare, 547 U.S.

 at 701 (“In sum, Grable emphasized that it takes more than a

 federal element ‘to open the “arising under” door.’” (citing

 Grable, 545 U.S. at 313)); Eller v. Jackson Kelly PLLC, 2011 WL

 672054, at *9 (S.D.W. Va. Feb. 14, 2011) (Johnston, J.) (“Not one

 element of Plaintiffs’ claims requires resolution of this, or any

 other, federal question.”).

       Plaintiffs’ other claims do not offer any better support for

 Defendant’s position.      The remaining claims, although referencing

 changes or reduction in pay or benefits, allege improper motives

 for doing so and appear to largely be adverse action employment

 claims.    Certainly, no essential element of any of those causes of

 action    specifically    incorporates      or   relies   upon   any   federal

 question, FLSA or otherwise. Like the WPCA claim asserted in Count

 3, the remaining claims may – but do not necessarily – require




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 adjudication of federal questions.5              Defendant has failed to

 demonstrate Plaintiffs’ claims necessarily raise federal issues

 creating federal jurisdiction.         See Ryan Env't, Inc. v. Hess Oil

 Co., 718 F. Supp. 2d 719, 722 (N.D.W. Va. 2010) (Keeley, J.)

 (“Removal    statutes     are   strictly    construed     against   the   party

 seeking removal, and the burden of establishing jurisdiction rests

 on that party.”).

             2. Substantial Federal Issue

       Turning    to     the   “substantial”     factor,    the    Court   finds

 Defendant fails to satisfy this Grable element as well.                As Judge

 Goodwin of the Southern District of West Virginia summarized,

             the Supreme Court in Empire Healthchoice
             outlined   the   factors  “that   affect   the
             ‘substantiality’ [i.e., the second Grable
             prong] of a federal interest in that case or
             issue: (1) whether the case includes a federal
             agency,   and   particularly,   whether   that
             agency’s compliance with the federal statute
             is in dispute; (2) whether the federal

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  For the same reasons discussed infra, the Court finds that any
 potential federal question implicated by Plaintiffs’ other claims
 is not sufficiently substantial to warrant assertion of “arising
 under” jurisdiction. The issues raised, in particular Defendant’s
 motive in allegedly altering the terms and conditions of
 Plaintiffs’ employment, are so fact-specific that they limit the
 applicability of the claimed federal dispute here to this case
 alone.   Conjuring “arising under” jurisdiction pursuant to 28
 U.S.C. § 1331 here would also disrupt the Congressionally-sought
 balance between federal and state courts.      Plaintiffs’ claims
 against their employer are not uncommon and, by and large, are
 litigated in West Virginia courts every day.     There is nothing
 apparent in this record justifying let alone requiring federal
 adjudication of such claims as Defendant urges.


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             question is important (i.e., not trivial); (3)
             whether a decision on the federal issue will
             resolve the case (i.e., the federal question
             is not merely incidental to the outcome); and
             (4) whether a decision as to the federal
             question will control numerous other cases
             (i.e., the issue is not anomalous or
             isolated).

 Craddock v. Adon Network, Inc., No. 2:10-CV-01401, 2011 WL 1601331,

 at *4 (S.D.W. Va. Apr. 27, 2011) (citing Mikulski v. Centerior

 Energy Corp., 501 F.3d 555, 570 (6th Cir. 2007)).

       No federal agency is party to this litigation nor is any such

 agency’s compliance with federal law at issue. As discussed above,

 the potential federal question is just that – potentially at issue.

 At this juncture, it is difficult to define what federal question

 may possibly be implicated in Plaintiffs’ claims.             Neither of the

 first two factors counsel in favor of finding a substantial federal

 issue at play here.

       With respect to the last two factors, this Court has also

 previously considered the expansion of removal jurisdiction under

 the Grable rubric.      As Judge Bailey summarized,

             The Supreme Court of the United States has
             distinguished cases that involve “nearly ‘pure
             issue[s] of law’ . . . ‘that [can] be settled
             once and for all’” from those that are “fact-
             bound and situation specific.”    Id. at 700–
             01. Or, as Justice Cardozo put it, a “common-
             sense accommodation of judgment to [the]
             kaleidoscopic situations” that present a
             federal issue, in “a selective process which
             picks the substantial causes out of the web


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                and lays the other ones aside.” Gully v. First
                Nat. Bank in Meridian, 299 U.S. 109, 117–18
                (1936).

 Adkins Energy, Inc. v. Dominion Transmission Inc., No. 5:16-CV-

 151, 2017 WL 462009, at *3 (N.D.W. Va. Feb. 2, 2017) (Bailey, J.).

 The    final     factor   “requires     the    court     to   determine   whether

 resolution of the alleged federal issue would control numerous

 other cases, not whether resolution of the question of federal

 subject-matter jurisdiction will govern numerous other cases.”

 Craddock, 2011 WL 1601331, at *6 n.1.              This case, like many wage

 and hour claims, whether brought expressly under the FLSA or state

 law like the WPCA, is quite “fact-bound and situation-specific.”

 Empire Healthcare, 547 U.S. at 700.                The Complaint sets out a

 lengthy and detailed factual chronology upon which Plaintiffs rely

 here.    The non-wage and hour claims focus on Defendant’s state of

 mind and motivation.          Claims involving such elements are often

 fact-intensive jury questions. See Magill v. Gulf & W. Indus.,

 Inc., 736 F.2d 976, 979 (4th Cir. 1984) (“Summary judgment is

 seldom appropriate in cases in which particular states of mind are

 decisive elements of claim or defense, because state of mind is so

 often proved by inferences from circumstantial evidence and by

 self-serving direct evidence.”).              There is no “pure” question of

 federal law that would resolve not only this dispute but others in

 the future.         These factors likewise weigh against finding a


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 substantial      federal     question   here   that      requires    exercise     of

 jurisdiction under Grable-Pinney.

                3. Federal-State Judicial Balance

         Lastly, the Court must consider whether Defendant can satisfy

 the final prong: “that removal of this state-law case and the

 multitude of cases just like it would be consistent with the

 congressionally approved balance of federal and state judicial

 responsibilities.”         Burrell, 918 F.3d at 386 (citing Grable, 545

 U.S. at 314).        “The Supreme Court has ‘consistently emphasized

 that,     in    exploring     the    outer   reaches      of    [section]      1331,

 determinations       about    federal    jurisdiction          require   sensitive

 judgments about congressional intent, judicial power, and the

 federal system.’”       Rose Acre Farms, Inc. v. N. Carolina Dep’t of

 Env’t & Nat. Res., 131 F. Supp. 3d 496, 504 (E.D.N.C. 2015)

 (quoting Merrell Dow, 478 U.S. at 810).

         Defendant’s proposed exercise of jurisdiction here would

 inappropriately      upset     the   balance   between      federal      and   state

 courts.     Plaintiffs arguably could have asserted certain of their

 grievances under the auspices of the FLSA.               They consciously chose

 a different path.6      Here, Defendant seeks to usurp that choice via


 6 Plaintiffs, of course, do so at their own potential peril. The
 WPCA “does not establish a particular rate of pay, . . . [but]
 instead, it controls the manner in which employees in West Virginia



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 an “extremely rare” gambit – injecting a federal question into a

 complaint devoid of any such issue but overflowing with state law

 causes of action.        To sanction this procedural maneuver would be

 to “federalize” any claim under the WPCA.                See, e.g., Hanna v. CFL

 Pizza, LLC, No. 6:11-CV-1837-ORL-22, 2012 WL 515875, at *6 (M.D.

 Fla. Jan. 30, 2012);          Fabro v. Aqua-Aston Hospitality, LLC, No. CV

 16-00467 DKW-RLP, 2017 WL 449587, at *4 (D. Haw. Feb. 2, 2017).

 This would offend any concept of federalism and potentially prompt

 a flood of state-law WPCA and garden-variety employment claims

 being removed to a federal forum in the absence of express federal

 question jurisdiction when the circuit courts of West Virginia are

 more than capable of adjudicating such disputes.                        See Empire

 Healthchoice,      547    U.S.    at   701   (“The   state      court    in   which

 the . . . suit was lodged is competent to apply federal law, to

 the extent it is relevant . . .”).           This factor likewise requires

 remand here.

       Courts “are obliged to construe removal jurisdiction strictly

 because       of        the      “significant        federalism          concerns”




 are paid wages, and it imposes on employers an obligation to pay
 employees’ wages in a timely manner.” Gregory v. Forest River,
 Inc., 369 F. App’x 464, 465 (4th Cir. 2010) (internal citations
 and quotations omitted). Regardless, Plaintiffs, as masters of
 their Complaint, are free to assert claims of their choosing and
 to forego claims that may subject them to undesired forums.
 Defendant cannot so easily substitute its choice for Plaintiffs’.


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 implicated. . . .       Therefore, if federal jurisdiction is doubtful,

 a remand to state court is necessary.”          Maryland Stadium Auth. v.

 Ellerbe Becket Inc., 407 F.3d 255, 260 (4th Cir. 2005) (internal

 quotations and citations omitted).          There is no doubt here after

 assessing the relevant factors.            The Court finds Defendant has

 failed to satisfy the Grable factors demonstrating an embedded

 federal question exists in Plaintiffs’ Complaint investing this

 Court with jurisdiction under 28 U.S.C. § 1331. Plaintiffs’ claims

 do not necessarily raise a disputed and substantial federal issue.

 Moreover, asserting jurisdiction over Plaintiffs’ state law claims

 would inappropriately affect the balance between federal and state

 courts.    Therefore, this Court lacks subject matter jurisdiction

 and remand is necessary.

       C. Attorneys’ Fees

       In addition to their request for remand, Plaintiffs also ask

 this Court to award them their attorneys’ fees.                 “An award of

 attorneys’ fees under § 1447 is not automatic but should only be

 awarded where ‘the removing party lacked an objectively reasonable

 basis.’”    Henry v. Kingwood Mining Co., LLC, No. 1:09CV16, 2009 WL

 10676866, at *1 (N.D.W. Va. June 15, 2009) (Keeley, J.) (quoting

 Martin v. Franklin Capital Corp., 546 U.S. 132, 140 (2005)).

 Although the Court granted Plaintiffs’ remand motion, the Court

 does not believe that Defendant so lacked an objectively reasonable


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 basis in seeking removal that an award of fees and costs is

 warranted here.         Very little, if any, authority addressing the

 WPCA’s    potential      for     satisfying      embedded      federal       question

 jurisdiction exits.         The same can be said of Plaintiffs’ other

 claims.     In fact, most of the cases cited by the parties and

 discussed herein by the Court deal with other wage and hour

 statutes.     Among those, there exists a divergence of thought on

 whether     other    West      Virginia     statutes       present     sufficiently

 substantial     federal     questions      to    constitute      “arising     under”

 jurisdiction.       Compare Harper, 2011 WL 322558, with Craddock, 2011

 WL 1601331.     Considering all relevant circumstances, Defendant’s

 removal does not satisfy the lofty standard required to impose an

 award of attorneys’ fees and costs despite the Court’s remanding

 the matter to the Circuit Court of Monongalia County.                  Plaintiffs’

 request for attorneys’ fees is DENIED.

       D. Other Pending Motions

       Defendant, shortly after removing to this Court, filed its

 Motion for Preliminary Injunction.               ECF No. 3.       Plaintiffs also

 filed a Motion to Dismiss Defendant’s counterclaims.                   ECF No. 13.

 This Court has no authority to consider either of these motions.

 “Unfortunately,       however,    without       either     diversity    or   federal

 question jurisdiction, any judgment rendered by this Court would

 be immediately vacated on appeal for lack of subject matter


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 jurisdiction.”     Inkrote v. Prot. Strategies Inc., No. 3:09-CV-51,

 2009 WL 3295042, at *8 (N.D.W. Va. Oct. 13, 2009).            Thus, the Court

 directs the Clerk to TERMINATE these motions from the Court’s

 docket.

                               IV.     CONCLUSION

       For the reasons discussed above, the Motion to Remand [ECF

 No. 12] is GRANTED. This action is hereby REMANDED to the Circuit

 Court of Monongalia County, West Virginia and STRICKEN from the

 Court’s active docket.

       The Clerk shall TERMINATE Defendant’s Motion for Preliminary

 Injunction [ECF No. 3] and Plaintiffs’ Motion to Dismiss [ECF No.

 13] from the Court’s docket as the Court lacks subject-matter

 jurisdiction to decide them.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Memorandum

 Opinion and Order to counsel of record and the Circuit Clerk of

 Monongalia County, West Virginia.

       DATED: May 4, 2023

                                       ____________________________
                                       THOMAS S. KLEEH, CHIEF JUDGE
                                       NORTHERN DISTRICT OF WEST VIRGINIA




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